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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF LOUISIANA


TELISA CLARK, et al.,

        Plaintiffs,
                                                        Case No.: 3:20-cv-00308-SDD-RLB
v.

JOHN BEL EDWARDS, et al.,

       Defendants.


POWER COALITION FOR EQUITY AND
JUSTICE, et al.

        Plaintiffs,
                                                        Case No.: 3:20-cv-00283-SDD-RLB
v.

JOHN BEL EDWARDS, et al.,

       Defendants.


            MOTION TO AMEND THE DECLARATION OF TELISA CLARK

       Plaintiffs Telisa Clark, Lakeshia Barnett, Crescent City Media Group (“CCMG”), and

League of Women Voters Louisiana (“LWVLA”) (collectively, “Clark Plaintiffs”) respectfully

move this Court for leave to amend the Declaration of Telisa Clark, ECF No. 22-8. Attached as

an exhibit to this Motion is the Amended Declaration. This corrected declaration clarifies

language relating to Ms. Clark’s voter eligibility. Specifically, the original declaration states that

Ms. Clark never “lost [her] right to vote due to felony conviction or court order.” The Amended

Declaration clarifies that Ms. Clark is eligible to register to vote in Louisiana and is “not under

an order of imprisonment for conviction of a felony.” The Amended Declaration also removes

language that incorrectly referred to Ms. Clark’s grandson Matthew as her daughter Kevon’s son.
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DATED this 21st day of June, 2020.        Respectfully submitted,

                                          /s/ Caren E. Short

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